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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

BERNIE CLEMENS,

Plaintiff : CIVIL ACTION NO. 3:13-2447

V.
(JUDGE MANNION)

NEW YORK CENTRAL MUTUAL
FIRE INSURANCE COMPANY,

Defendant

VERDICT FORM

Has the plaintiff established by clear and convincing evidence that the
defendant acted in bad faith in the handling of his underinsured motorist
claim?

Xx YES NO

If YES, please proceed to Question #2. If NO, please sign the

 

verdict form and return to the courtroom.

Please state the amount of damages you award the plaintiff, Bernie
Clemens.

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PLEASE SIGN AND DATE THE VERDICT FORM AND RETURN TO

THE COURTROOM.

Date:_// |p l2U5 _
JURY FOREPERSON

COURT EXHIBIT #2

 

 
